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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          EUREKA DIVISION

                                   7

                                   8     VICTOR M SIENZE, et al.,                           Case No. 19-cv-04279-RMI
                                   9                    Plaintiffs,
                                                                                            ORDER
                                  10             v.

                                  11     BENJAMIN THOMAS MOORE, et al.,
                                  12                    Defendants.
Northern District of California
 United States District Court




                                  13

                                  14          On July 25, 2019, Plaintiffs Victor M. Sienze, Betty J. Sienze, Victor M. Sienze III, J. S.,

                                  15   R. K. H., and Crystal K. Sienze asserted claims against Defendants Benjamin T. Moore, Lake

                                  16   County Sheriff’s Department, and California Highway Patrol for negligent homicide, abridging

                                  17   constitutional rights, desecration of human remains, and mayhem. (dkt. 1). Only Plaintiff Victor

                                  18   M. Sienze signed the Complaint, although there appear to be six plaintiffs. Id. Similarly, only

                                  19   Plaintiff Victor M. Sienze filed an Application To Proceed In Forma Pauperis. (dkt. 2). Plaintiff

                                  20   Victor M. Sienze consented to the jurisdiction of the undersigned on July 25, 2019. (dkt. 3).

                                  21          The court is mindful that Plaintiffs are proceeding pro se. See, e.g, Erickson v. Pardus, 551

                                  22   U.S. 89, 94 (2007) (“a pro se complaint, however inartfully pleaded, must be held to less stringent

                                  23   standards than formal pleadings drafted by lawyers”). Yet a complaint must be signed by each

                                  24   party personally if the party is unrepresented by an attorney. See Fed. R. Civ. P. 11(a). “The

                                  25   [complaint] must state the signer’s address, e-mail address, and telephone number.” Id. If all

                                  26   Plaintiffs – rather than only Plaintiff Victor M. Sienze – wish to pursue the action against

                                  27   Defendants together, Plaintiffs must re-file a complaint that includes each Plaintiff’s signature in

                                  28   addition to each Plaintiff’s address, e-mail address, and telephone number.
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                                   1          In addition, pro se plaintiffs are generally prohibited from pursuing claims on behalf of

                                   2   others in a representative capacity. See Civil L.R. 3–9(a); see also Johns v. Cnty. of San Diego,

                                   3   114 F.3d 874, 876 (9th Cir.1997) (“While a non-attorney may appear pro se on his own behalf, he

                                   4   has no authority to appear as an attorney for others than himself.”); Godoy v. Brown, No. 18-CV-

                                   5   06650-HSG (PR), 2019 WL 359418, at *3 (N.D. Cal. Jan. 29, 2019). Furthermore, a minor child

                                   6   cannot represent himself. See Fed. R. Civ. P. 17(c); see also Castillo-Ramirez v. Cty. of Sonoma,

                                   7   No. C-09-5938 EMC, 2010 WL 1460142, at *1 (N.D. Cal. Apr. 9, 2010). A non-attorney parent

                                   8   cannot represent a minor child. Johns, 114 F.3d at 877; Thomas v. Cty. of Sonoma, No. 17-CV-

                                   9   00245-LB, 2017 WL 2289208, at *3 (N.D. Cal. May 25, 2017). Two Plaintiffs – J. S. and R. K. H.

                                  10   – are identified by initials and described as “son” in the Complaint. (dkt. 1). If Plaintiffs J. S. and

                                  11   R. K. H are minor children, each must be represented by an attorney.

                                  12          Similarly, Plaintiff Victor M. Sienze filed an Application To Proceed In Forma Pauperis
Northern District of California
 United States District Court




                                  13   on his own behalf and also on behalf of the “Jason Richard Sienze Family.” (dkt. 2). As a pro se

                                  14   plaintiff, Mr. Sienze may not represent the Jason Richard Sienze Family. Accordingly, each

                                  15   Plaintiff must independently file an application seeking in forma pauperis status.

                                  16          The court will mail Plaintiff Victor M. Sienze a copy of “Representing Yourself in Federal

                                  17   Court: A Handbook for Pro Se Litigants” at the same time it sends a copy of this Order.

                                  18          Accordingly, it is ORDERED, that on or before September 20, 2019, Plaintiffs shall refile

                                  19   the Complaint with the appropriate signatures and requisite information, file their applications to

                                  20   proceed in forma pauperis, and file notices of appearances for any minor children plaintiffs, or

                                  21   otherwise inform the court as to which plaintiffs are proceeding in this action.

                                  22

                                  23          IT IS SO ORDERED.

                                  24   Dated: August 21, 2019

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                                                                                                      ROBERT M. ILLMAN
                                  27                                                                  United States Magistrate Judge
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